                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                      CRIMINAL NO. 3:16-CR-00255-MOC-DCK


 UNITED STATES OF AMERICA,                        )
                                                  )
                                                  )
                                                  )
 v.                                               )                     ORDER
                                                  )
 ANTHONY JAQUAN BOYD,                             )
                                                  )
                  Defendant.                      )



        THIS MATTER is before the Court on Defendant’s “Motion for Hearing for Inquiry as

to Status of Counsel” (document # 29) filed on January 31, 2017. The Court held a hearing in this

matter on February 1, 2017.


        During the hearing, the Court heard from Defendant, appointed counsel S. Frederick

Winiker, III, and the Government. Defendant appears concerned because Mr. Winiker has

recommended that he accept a plea offer from the Government.               He expressed no other

dissatisfaction with Mr. Winiker’s representation.


        The Court clarified the attorney-client relationship and explained to Defendant that there

are certain decisions that must be made by him such as whether to accept a plea agreement or go

to trial. The Court acknowledged the serious nature of the charges and penalties that Defendant

faces, but advised him that appointment of new counsel would not change these circumstances.


        “Because the right to choose counsel is not absolute, it necessarily follows that a defendant

does not have an absolute right to substitution of counsel. As a general rule, a defendant must




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show good cause in requesting a new appointed lawyer.” United States v. Mullen, 32 F.3d 891,

895 (4th Cir. 1994). Here, Defendant’s concerns do not establish good cause for the Court to

appoint new counsel. Based upon the foregoing, the Court finds no basis to remove Mr. Winiker

as appointed counsel.


       The Clerk is directed to send copies of this Order to counsel for the parties; and to the

Honorable Max O. Cogburn, Jr..


       SO ORDERED.



                                 Signed: February 1, 2017




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